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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

JAMES W. TURNEY-BOZELL,

Plaintiff,
                                                         Case No. 1:19-cv-02571-TWP-MJD
         v.

EQUIFAX INFORMATION SERVICES, LLC,                                      .
KEYBANK N.A., LITTON MORTGAGE,
INC., JP MORGAN CHASE BANK N.A., and
ONEMAIN FINANCIAL INC.,

Defendants.

                                 NOTICE OF SETTLEMENT

         PLEASE TAKE NOTICE that JAMES W. TURNEY-BOZELL (“Plaintiff”), hereby

notifies the Court that the Plaintiff and the Defendant, JP MORGAN CHASE BANK N.A,

only, have settled all claims between them in this matter and are in the process of

completing the final closing documents and filing the dismissal.


Respectfully submitted this 24th day of July 2019.

                                                           Respectfully submitted,

                                                           s/ Taxiarchis Hatzidimitriadis
                                                           Taxiarchis Hatzidimitriadis
                                                           Sulaiman Law Group, Ltd.
                                                           2500 S. Highland Ave., Ste. 200
                                                           Lombard, IL 60148
                                                           Phone: (630) 575-8181
                                                           thatz@sulaimanlaw.com
                                                           Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Taxiarchis Hatzidimitriadis
                                                              Taxiarchis Hatzidimitriadis




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